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From: Autumn Hickey <autumnhickey1031@gmail.com>
Date: Thu, Aug 5, 2021, 22:00
Subject: Character statement for my love!
To: <adorian.lazar@gmail.com>


My name is Autumn Hickey, and to whom it may concern, I have known
Samuel Lazar for a little over a year now. Within that year not only was I able to form
the strongest amounts of love for him but also his overall admirable morals.
Whether it comes to certain business strategies or straight motivation, Sam shines all of
his light upon it. The passion in his voice and posture when he’s talking about the things
he loves for instance God, music, America, cooking food, it’s the truest, most down-to-
earth conversation. He shows nothing but respect to his friends and family, neighbors,
common folks, and even plants! He has an absolutely beautiful flower and vegetable
garden.
If Sam is anything in this world it’s a wonderful man, who’s doing his very best to live out
his version of the American dream, through diligence, trusting in God, while also raising
his two children. He built a beautiful life and would do anything for the people in it!
Samuel has earned everything he has, and doesn’t take a single moment for granted.

From,
Autumn Hickey in regards to Samuel Lazar

Contact information: autumnhickey1031@gmail.com
267-231-9964
